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6:07-cr-00022-ADA Document 3 Filed 02/01/07 Page 1of1

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA

V.
PATRICK JONES (2)

WARRANT FOR ARREST

CASE NUMBER: WO? i Hw, /')

TO: The United States Marshal and any Authorized United States Officer

YOU ARE HEREBY

and bring him or her

COMMANDED to arrest PATRICK JONES
Name

forthwith to the nearest magistrate to answer a(n)

() Indictment () Information (X) Complaint () Order of court () Violation Notice () Probation Violation Petition

charging him or her with (brief description of offense) aided and abetted by another, possessing with

intent_to distribute at least five (5) grams of a mixture or substance containing cocaine

base, also known

as “crack” cocaine, a Schedule II Narcotic Drug Controlled Substance

in violation of Title _21______-_-~__-—- United States Code, Section(s) 841 (a)(1)
and in violation of Title 18 United States Code, Section 2 ;

Walter S_ Smith Jr

Chief. U. S. District Judge

Name of Issujng Officer Title of Issuing Officer
— utd. 2 Ly February 1, 2007 Waco, Texas

Signature of Issuing Officer

 

Date and Location

Bail fixed at § _ daterwy by Walter S. Smith, Jr. chief. U.. District Judge

Name of Judicial Officer

 

RETURN

 

This warrant was received and executed with the arrest of the above-named defendant at

 

 

 

DATE RECEIVED

NAME & TITLE OF SIGNATURE OF ARRESTING
ARRESTING OFFICER - OFFICER

 

DATE OF ARREST

 

 

 

 

 
